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 8
 9                                    IN THE UNITED STATES DISTRICT COURT
10                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
11                                              SACRAMENTO DIVISION
12
13
       RALPH COLEMAN, et al.,                                        Case No. 2:90-cv-00520 KJM-SCR
14
                                                   Plaintiffs,       STIPULATION AND ORDER
15                                                                   APPROVING BONUS PAYMENTS TO
                            v.                                       REHABILITATION THERAPISTS AND
16                                                                   PSYCHIATRIC NURSE
                                                                     PRACTITIONERS UNDER THE
17     GAVIN NEWSOM, et al.,                                         SPENDING PLAN
18                                               Defendants. Judge: The Hon. Kimberly J. Mueller
19
20                   On April 2, 2025, the Comt entered an order directing the pa1ties to file a Joint Statement
21     concerning the implementation of the Plan for Expenditure of Staffing Fines (Spending Plan)
22     approved by the Comt on August 29, 2024. (ECF No. 8589 at 7.) 1 That order stayed the litigation
23     subject to ce1tain exceptions, including the implementation of the Plan for Expenditme of
24     Staffing Fines "which will proceed in accordance with the tenns of the Plan promptly upon
25     issuance of the mandate following the Opinion of the U.S. Comt of Appeals for the Ninth Circuit
26
                     1 The patties cite to the record using the docket number as a sho1t citation fo1m throughout
27     this response. References to page numbers in documents filed in the comt's Electronic Case
       Filing (ECF) system are to the page numbers assigned by the ECF system and located in the
28     upper right-hand comer of the page.
       (4691434.11                                               1
          Stip. and Order Approving Bonus Payments to Rehab. Therapists & PNPs (2:90-cv-00520 KJM•SCR (PC))
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 1     filed March 19, 2025, ECF No. 8576.” (Id.)
 2                   On April 9, 2025, the parties filed a Joint Statement addressing the implementation of the
 3     Spending Plan, agreeing that:
 4           1. The recruitment and retention bonus of $10,000 for all current CDCR staff in all
 5                   classifications covered by the 2009 staffing plan shall be paid no more than 60 days from
 6                   the issuance of the mandate.
 7           2. The recruitment and retention bonus of $10,000 for new hires (provided that the new hires
 8                   were not previously working at CDCR and DSH immediately prior to hiring) in all
 9                   classifications covered by the 2009 staffing plan shall be paid within six months following
10                   the staff member’s start date.
11           3. The monthly bonuses to augment staff take-home pay ($20,000 for the psychologist and
12                   social worker classifications and $5,000 for psychiatrist, recreational therapist and
13                   medical assistant classifications, divided into twelve equal monthly payments for one
14                   year) shall be paid starting no later than 60 days following the issuance of the mandate.
15           4. The monthly bonuses for staff hired after the issuance of the mandate shall be paid starting
16                   on the first pay period following the new employee’s start date, once bonuses for current
17                   employees have begun. (ECF No. 8599 at 3-4.)
18               On April 10, 2025, the Ninth Circuit issued the formal mandate. (ECF No. 8602.) On April
19     17, 2025, the Court ordered that the implementation of the Staffing Spending Plan shall be funded
20     by drawing on funds in the Mental Health Staffing Deposit Fund. (ECF No. 8605 at 2.)
21                   On April 29, 2025, the parties filed a joint stipulation to request that the Court approve the
22     Spending Plan to allow for payment of recruitment and retention bonuses and monthly bonuses
23     equal to those paid to psychologists and social workers to qualified Marriage and Family
24     Therapists and Professional Clinical Counselors providing care to Coleman class members as per
25     the Court-approved modifications to the 2009 Staffing Plan. (ECF No. 8616; see ECF No. 8587-
26     1, Ex. A.) The Court approved this joint stipulation on May 8, 2025. (ECF No. 8633.)
27                   There are CDCR employees working as Rehabilitation Therapists who perform a similar
28     role to Recreational Therapists in providing care to Coleman class members in the inpatient
       [4691434.1]                                             2
          Stip. and Order Approving Bonus Payments to Rehab. Therapists & PNPs (2:90-cv-00520 KJM-SCR (PC))
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 1     programs. These Rehabilitation Therapists are not currently covered by the terms of the Staffing
 2     Spending Plan, though they are counted in the fill rates for the allocated Recreational Therapist
 3     positions.
 4                   There are also CDCR employees working as Psychiatric Nurse Practitioners (PNPs) who
 5     perform a similar role to psychiatrists in providing care to Coleman class members. These PNPs
 6     are not currently covered by the terms of the Staffing Spending Plan, though they are counted in
 7     the fill rates for the allocated Psychiatry positions.
 8                   The parties now additionally request, through this joint stipulation, that the Court approve
 9     the Spending Plan to allow for payment of recruitment and retention bonuses and monthly
10     bonuses to Rehabilitation Therapists providing care to Coleman class members equal to those
11     paid to Recreational Therapists providing care to Coleman class members. The parties also
12     request that the Court approve the Spending Plan to allow for payment of recruitment and
13     retention bonuses and monthly bonuses to PNPs providing care to Coleman class members equal
14     to those paid to psychiatrists providing care to Coleman class members.
15               The Special Master has reviewed this stipulation and takes no position as to its terms.
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       [4691434.1]                                            3
          Stip. and Order Approving Bonus Payments to Rehab. Therapists & PNPs (2:90-cv-00520 KJM-SCR (PC))
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 1     IT IS SO STIPULATED.
 2     DATED: May 15, 2025                                    ROB BONTA
                                                              Attorney General of California
 3

 4
                                                        By:          /s/ Elise Owens Thorn
 5                                                            DAMON MCCLAIN
                                                              Supervising Deputy Attorney General
 6                                                            ELISE OWENS THORN
                                                              Deputy Attorney General
 7                                                            Attorneys for Defendants
 8
       DATED: May 15, 2025                                  HANSON BRIDGETT LLP
 9

10

11                                                    By:          /s/ Samantha D. Wolff
                                                            PAUL B. MELLO
12                                                          SAMANTHA D. WOLFF
13                                                          Attorneys for Defendants

14

15     DATED: May 15, 2025                                  ROSEN BIEN GALVAN & GRUNFELD LLP

16

17                                                    By:          /s/ Jared Miller
18                                                          JARED MILLER
                                                            Attorneys for Plaintiffs
19

20               IT IS SO ORDERED.
21     DATED: May 15, 2025
22

23                                                   SENIOR UNITED STATES DISTRICT JUDGE

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       [4691434.1]                                            4
          Stip. and Order Approving Bonus Payments to Rehab. Therapists & PNPs (2:90-cv-00520 KJM-SCR (PC))
